ILND 450 (Rev.Case:   1:09-cv-01184
              ) Judgment in a Civil Document
                                              Action     #: 469 Filed: 11/04/21 Page 1 of 1 PageID #:7216

                                   IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE
                                      NORTHERN DISTRICT OF ILLINOIS

Raymond E. King,
Plaintiff,
                                                                 Case No. 09-cv-01184
v.                                                               Judge Heather K. McShain

Dr. Jacqueline Mitchell,
Defendant.

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $

                          which        includes       pre–judgment interest.
                                       does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)

        Defendant(s) shall recover costs from plaintiff(s).


         ✔       other: Judgment is entered in favor of Defendant Dr. Jacqueline Mitchell and against Plaintiff
                        Raymond King.



This action was (check one):

 ✔   tried by a jury with Judge Heather K. McShain
                                               presidinJ, and the jury has rendered a verdict.
     tried by JudgeHeather K. McShain without a jury and the above decision was reached.
     decided by Judge Heather K. McShain on a motion



Date: 11/4/21                                       Thomas G. Bruton, Clerk of Court

                                                    Peggy Klutcharch,Deputy Clerk
